             Case 22-56521-sms                     Doc 1     Filed 08/21/22 Entered 08/21/22 22:46:51                         Desc Main
                                                             Document     Page 1 of 15
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________ District of _________________
     Northern District of Georgia        (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                                Chapter 7
                                                             
                                                             ✔   Chapter 11
                                                                Chapter 12
                                                                Chapter 13                                                Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               06/22

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Robert
                                        __________________________________________________           __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or          H
                                        __________________________________________________           __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                McClure
                                        __________________________________________________           __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names.




3.    Only the last 4 digits of                           3    8    1    4
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
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Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name   Middle Name               Last Name




                                           About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                          
                                           ✔ I have not used any business names or EINs.                      I have not used any business names or EINs.
     Identification Numbers
     (EIN) you have used in                _________________________________________________                 _________________________________________________
     the last 8 years                      Business name                                                     Business name

     Include trade names and
                                           _________________________________________________                 _________________________________________________
     doing business as names               Business name                                                     Business name



                                           _________________________________________________                 _________________________________________________
                                           EIN                                                               EIN

                                           _________________________________________________                 _________________________________________________

                                           EIN                                                               EIN



5.   Where you live                                                                                          If Debtor 2 lives at a different address:


                                           2350 Bentley Trail                                                _________________________________________________
                                           _________________________________________________
                                           Number     Street                                                 Number     Street


                                           _________________________________________________                 _________________________________________________


                                           Loganville                              GA
                                           _________________________________________________
                                                                                             30052           _________________________________________________
                                           City                            State   ZIP Code                  City                            State   ZIP Code

                                           Gwinnett County                                                   _________________________________________________
                                           _________________________________________________
                                           County                                                            County


                                           If your mailing address is different from the one                 If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send             yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                       any notices to this mailing address.


                                           _________________________________________________                 _________________________________________________
                                           Number     Street                                                 Number     Street

                                           _________________________________________________                 _________________________________________________
                                           P.O. Box                                                          P.O. Box

                                           _________________________________________________                 _________________________________________________
                                           City                            State   ZIP Code                  City                            State   ZIP Code




6.   Why you are choosing                  Check one:                                                        Check one:
     this district to file for
     bankruptcy                            
                                           ✔ Over the last 180 days before filing this petition, I            Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other           have lived in this district longer than in any other
                                                 district.                                                      district.

                                            I have another reason. Explain.                                  I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)




     Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                      page 2
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 Debtor 1         _______________________________________________________                            Case number (if known)_____________________________________
                  First Name   Middle Name             Last Name




 Pa rt 2 :     T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.    The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
       Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       are choosing to file
       under
                                              Chapter 7
                                             
                                             ✔ Chapter 11


                                              Chapter 12
                                              Chapter 13

 8.    How you will pay the fee              
                                             ✔
                                               I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                                local court for more details about how you may pay. Typically, if you are paying the fee
                                                yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                                submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                with a pre-printed address.

                                              I need to pay the fee in installments. If you choose this option, sign and attach the
                                                Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                              I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                less than 150% of the official poverty line that applies to your family size and you are unable to
                                                pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.     Have you filed for         
                                  ✔ No
       bankruptcy within the
       last 8 years?               Yes.        District ____________________________________________ When ______________ Case number __________________


                                                District ____________________________________________ When ______________ Case number __________________


                                                District ____________________________________________ When ______________ Case number __________________




 10.   Are any bankruptcy              ✔ No
       cases pending or being
       filed by a spouse who is         Yes.
       not filing this case with
       you, or by a business
       partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
       affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                  Debtor _________________________________________________                         R elationship to you ___________________________

                                  District _______________________________________________ When _______________ Case number, if known__________________


11.    Do you rent your                      
                                             ✔ No.    Go to line 12.
       residence?                             Yes.   Has your landlord obtained an eviction judgment against you?


                                                          No. Go to line 12.
                                                          Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                           this bankruptcy petition.




       Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
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Debtor 1         _______________________________________________________                                Case number (if known)_____________________________________
                 First Name       Middle Name             Last Name




Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12.   Are you a sole proprietor                 
                                                ✔ No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________        _______      __________________________
                                                          City                                                  State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above

                                                If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
13.   Are you filing under                      choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
      Chapter 11 of the                         are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
      are you a small business                  if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      debtor or a debtor as
                                                 No.    I am not filing under Chapter 11.
      defined by 11 U.S. C. §
      1182(1)?                                  
                                                ✔ No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                         the Bankruptcy Code.
      For a definition of small
      business debtor, see                       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
      11 U.S.C. § 101(51D).                              Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                                 Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                   Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
14.   Do you own or have any                    
                                                ✔ No
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property?




      Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                  page 4
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Debtor 1        _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                             
                                             ✔ I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
      cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.       I have a mental illness or a mental             Incapacity.      I have a mental illness or a mental
                                                                    deficiency that makes me                                          deficiency that makes me
                                                                    incapable of realizing or making                                  incapable of realizing or making
                                                                    rational decisions about finances.                                rational decisions about finances.
                                                 Disability.       My physical disability causes me                Disability.      My physical disability causes me
                                                                    to be unable to participate in a                                  to be unable to participate in a
                                                                    briefing in person, by phone, or                                  briefing in person, by phone, or
                                                                    through the internet, even after I                                through the internet, even after I
                                                                    reasonably tried to do so.                                        reasonably tried to do so.
                                                 Active duty.      I am currently on active military               Active duty.     I am currently on active military
                                                                    duty in a military combat zone.                                   duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




       Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                       page 5
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Debtor 1         _______________________________________________________                                   Case number (if known)_____________________________________
                 First Name     Middle Name             Last Name




Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                        as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                      No. Go to line 16b.
                                                   
                                                   ✔   Yes. Go to line 17.

                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                   money for a business or investment or through the operation of the business or investment.
                                                      No. Go to line 16c.
                                                      Yes. Go to line 17.

                                              16c. State the type of debts you owe that are not consumer debts or business debts.
                                                   _______________________________________________________________

17.   Are you filing under
      Chapter 7?                              
                                              ✔ No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after               Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                           administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                                        No
      administrative expenses
      are paid that funds will be                         Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                   
                                              ✔ 1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                    50-99                                     5,001-10,000                           50,001-100,000
      owe?                                     100-199                                   10,001-25,000                          More than 100,000
                                               200-999
19.   How much do you                          $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to                  $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                               
                                              ✔ $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                          $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities                $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                  
                                              ✔ $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Pa rt 7 :      Sign Be low

                                              I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                       correct.
                                              If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                              of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                              under Chapter 7.
                                              If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                              this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                              I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                              I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                              with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                              18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                                   /s/ Robert H. McClure
                                                 ______________________________________________               _____________________________
                                                 Signature of Debtor 1                                            Signature of Debtor 2

                                                                    08/21/2022
                                                 Executed on _________________                                    Executed on __________________
                                                                    MM   / DD   / YYYY                                          MM / DD     / YYYY




            Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                  page 6
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Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




                                             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are                to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                           available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                             the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented                   knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                             _________________________________
                                               /s/ G. Frank Nason, IV
                                                                                                                 Date          _________________
                                                                                                                                08/21/2022
                                                Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                                  G. Frank Nason, IV
                                                _________________________________________________________________________________________________
                                                Printed name

                                                  Lamberth, Cifelli, Ellis & Nason, P.A.
                                                _________________________________________________________________________________________________
                                                Firm name

                                                 6000 Lake Forrest Drive, NW
                                                _________________________________________________________________________________________________
                                                Number Street

                                                 Ste. 435
                                                _________________________________________________________________________________________________

                                                 Atlanta                                                         GA            30328
                                                ______________________________________________________ ____________ ______________________________
                                                City                                                    State        ZIP Code




                                                Contact phone 404-262-7373
                                                              ______________________________         Email address
                                                                                                                     fnason@lcenlaw.com
                                                                                                                      _________________________________________



                                                 535160                                                          GA
                                                ______________________________________________________ ____________
                                                Bar number                                              State




           Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 7
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 Fill in this information to identify your case:

 Debtor 1           Robert H McClure
                   __________________________________________________________________
                     First Name                  Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                  Middle Name                Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Georgia District of __________
                                                                                        (State)
 Case number         ___________________________________________
  (If known)
                                                                                                                                                Check if this is an
                                                                                                                                                  amended filing


Official Form 104
For I ndividua l Cha pt e r 1 1 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
U nse c ure d Cla im s Aga inst Y ou a nd Are N ot I nside rs                              12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person in
control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a sole
proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate collateral
value places the creditor among the holders of the 20 largest unsecured claims.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.


 Pa rt 1 :      List t he 2 0 U nse cure d Claim s in Orde r from La rge st t o Sm alle st . Do N ot I nc lude Cla im s by I nside rs.


                                                                                                                                         Unsecured claim

 1                                                             What is the nature of the claim? ____________________________             160,000.00
                                                                                                                                        $____________________________
      Ortiz Restoration, LLC
      __________________________________________
      Creditor’s Name                                          As of the date you file, the claim is: Check all that apply.
      c/o Nicholas P. Martin, Esq.
      __________________________________________
                                                               
                                                               ✔   Contingent
      Number            Street                                 
                                                               ✔   Unliquidated
      1742 Mount Vernon Road, Ste. 300
      __________________________________________               
                                                               ✔   Disputed
                                                                  None of the above apply
      Atlanta                  GA     30338
      __________________________________________
      City                               State     ZIP Code
                                                               Does the creditor have a lien on your property?

      __________________________________________
                                                               
                                                               ✔   No
      Contact                                                     Yes. Total claim (secured and unsecured):   $_____________________

      ____________________________________
                                                                        Value of security:                 -   $_____________________
      Contact phone
                                                                        Unsecured claim                        $_____________________



 2                                                                                              ____________________________
                                                               What is the nature of the claim? Guaranty
                                                                                                                                          55,517.44
                                                                                                                                        $____________________________
      Cedar Advance, LLC
      __________________________________________
      Creditor’s Name                                          As of the date you file, the claim is: Check all that apply.
       25 Robert Pitt Drive
      __________________________________________                  Contingent
      Number            Street                                    Unliquidated
      Suite 204
      __________________________________________               
                                                               ✔   Disputed
                                                                  None of the above apply
      Monsey                  NY     10952
      __________________________________________
      City                               State     ZIP Code
                                                               Does the creditor have a lien on your property?
                                                               
                                                               ✔   No
      __________________________________________
      Contact                                                     Yes. Total claim (secured and unsecured):   $_____________________

      ____________________________________
                                                                        Value of security:                 -   $_____________________
      Contact phone
                                                                        Unsecured claim                        $_____________________




                                                                                                                                                       28
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Debtor 1          Robert H McClure
                 _______________________________________________________                                    Case number (if known)_____________________________________
                 First Name      Middle Name         Last Name


                                                                                                                                              Unsecured claim

 3 __________________________________________
   Citibank Preferred                                            What is the nature of the claim? ____________________________             20,000.00
                                                                                                                                          $____________________________
     Creditor’s Name

     P.O. Box 6500
     __________________________________________                  As of the date you file, the claim is: Check all that apply.
     Number            Street                                       Contingent
     __________________________________________                     Unliquidated
                                                                    Disputed
     Sioux Falls             SD 57117
     __________________________________________                  
                                                                 ✔   None of the above apply
     City                               State   ZIP Code
                                                                 Does the creditor have a lien on your property?

     __________________________________________
                                                                 
                                                                 ✔   No
     Contact                                                        Yes. Total claim (secured and unsecured):   $_____________________

     ____________________________________
                                                                          Value of security:                 -   $_____________________
     Contact phone                                                        Unsecured claim                        $_____________________

 4 Wells Fargo Bank
   __________________________________________                    What is the nature of the claim? ____________________________            $____________________________
                                                                                                                                           9,800.00
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     1100  Corporate Center Drive
     __________________________________________                     Contingent
     Number            Street
                                                                    Unliquidated
     __________________________________________                     Disputed

     Raleigh                 NC 27607                            
                                                                 ✔   None of the above apply
     __________________________________________
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                 
                                                                 ✔   No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
     Contact
                                                                          Value of security:                 -   $_____________________
     ____________________________________                                 Unsecured claim                        $_____________________
     Contact phone


 5 __________________________________________
   Platinum Restoration, LLC                                     What is the nature of the claim? ____________________________             Unknown
                                                                                                                                          $____________________________
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     c/o Nicholas P. Martin, Esq.
     __________________________________________
     Number            Street
                                                                 
                                                                 ✔   Contingent

     1742 Mount Vernon Road, Ste. 300
                                                                 
                                                                 ✔   Unliquidated
     __________________________________________
                                                                 
                                                                 ✔   Disputed
     Atlanta                  GA 30338                              None of the above apply
     __________________________________________
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                 
                                                                 ✔   No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                             -
     Contact
                                                                          Value of security:                     $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                        $_____________________

 6 __________________________________________
   Internal Revenue Service                                      What is the nature of the claim? ____________________________
                                                                                                  Taxes & Other Government Units          $____________________________
                                                                                                                                           Unknown
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Centralized Insolvency Operations
     Number            Street                   
                                                ✔                    Contingent
                                                
                                                ✔                    Unliquidated
     __________________________________________
     P. O. Box 21126
                                                
                                                ✔                    Disputed

     Philadelphia             PA 19114-0326
     __________________________________________
                                                                    None of the above apply
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                 
                                                                 ✔   No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                             -
     Contact
                                                                          Value of security:                     $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                        $_____________________

 7 Georgia Department of Revenue                                 What is the nature of the claim? Taxes
                                                                                                  ____________________________
                                                                                                        & Other Government Units          $____________________________
                                                                                                                                           Unknown
   __________________________________________
     Creditor’s Name                                             As of the date you file, the claim is: Check all that apply.
     Compliance   Division - ARCS-Bankruptcy
     __________________________________________                     Contingent
     Number            Street
                                                                    Unliquidated
     1800  Century Blvd NE, Suite 9100
     __________________________________________                     Disputed
                                                                 
                                                                 ✔   None of the above apply
     Atlanta                  GA 30345-3202
     __________________________________________
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                 
                                                                 ✔   No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
     Contact
                                                                          Value of security:                 -   $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                        $_____________________

                                                                                                                                                          29
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Debtor 1          Robert H McClure
                 _______________________________________________________                                    Case number (if known)_____________________________________
                 First Name      Middle Name         Last Name


                                                                                                                                             Unsecured claim

 8   __________________________________________                  What is the nature of the claim? ____________________________            $____________________________
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Number            Street                                       Contingent
                                                                    Unliquidated
     __________________________________________
                                                                    Disputed

     __________________________________________
                                                                    None of the above apply
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                    No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                             -
     Contact
                                                                          Value of security:                     $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                        $_____________________

 9   __________________________________________                  What is the nature of the claim? ____________________________            $____________________________
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Number            Street                                       Contingent
                                                                    Unliquidated
     __________________________________________
                                                                    Disputed

     __________________________________________
                                                                    None of the above apply
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                    No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                             -
     Contact
                                                                          Value of security:                     $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                        $_____________________

10   __________________________________________                  What is the nature of the claim? ____________________________            $____________________________
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Number            Street
                                                                    Contingent
                                                                    Unliquidated
     __________________________________________                     Disputed
                                                                    None of the above apply
     __________________________________________
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                    No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
     Contact
                                                                          Value of security:                 -   $_____________________
     ____________________________________                                 Unsecured claim                        $_____________________
     Contact phone


11   __________________________________________                  What is the nature of the claim? ____________________________            $____________________________
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Number            Street                                       Contingent

     __________________________________________
                                                                    Unliquidated
                                                                    Disputed

     __________________________________________
                                                                    None of the above apply
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                    No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                             -
     Contact
                                                                          Value of security:                     $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                        $_____________________

12                                                               What is the nature of the claim? ____________________________            $____________________________
     __________________________________________
     Creditor’s Name                                             As of the date you file, the claim is: Check all that apply.
     __________________________________________
                                                                    Contingent
     Number            Street                                       Unliquidated
     __________________________________________                     Disputed
                                                                    None of the above apply
     __________________________________________                  Does the creditor have a lien on your property?
     City                               State   ZIP Code
                                                                    No
                                                                    Yes. Total claim (secured and unsecured):   $_____________________
     __________________________________________
     Contact
                                                                          Value of security:                 -   $_____________________
                                                                          Unsecured claim                        $_____________________
     ____________________________________
     Contact phone



                                                                                                                                                          30
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Debtor 1          Robert H McClure
                 _______________________________________________________                                    Case number (if known)_____________________________________
                 First Name      Middle Name         Last Name


                                                                                                                                           Unsecured claim

13   __________________________________________                  What is the nature of the claim? ____________________________            $____________________________
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Number            Street                                       Contingent
                                                                    Unliquidated
     __________________________________________
                                                                    Disputed

     __________________________________________
                                                                    None of the above apply
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                    No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                             -
     Contact
                                                                          Value of security:                     $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                        $_____________________

14   __________________________________________                  What is the nature of the claim? ____________________________            $____________________________
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Number            Street                                       Contingent
                                                                    Unliquidated
     __________________________________________
                                                                    Disputed

     __________________________________________
                                                                    None of the above apply
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                    No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                             -
     Contact
                                                                          Value of security:                     $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                        $_____________________

15   __________________________________________                  What is the nature of the claim? ____________________________            $____________________________
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Number            Street
                                                                    Contingent
                                                                    Unliquidated
     __________________________________________                     Disputed
                                                                    None of the above apply
     __________________________________________
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                    No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
     Contact
                                                                          Value of security:                 -   $_____________________
     ____________________________________                                 Unsecured claim                        $_____________________
     Contact phone


16   __________________________________________                  What is the nature of the claim? ____________________________            $____________________________
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Number            Street                                       Contingent
                                                                    Unliquidated
     __________________________________________
                                                                    Disputed

     __________________________________________
                                                                    None of the above apply
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                    No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
                                                                                                             -
     Contact
                                                                          Value of security:                     $_____________________
     ____________________________________
     Contact phone                                                        Unsecured claim                        $_____________________

17                                                               What is the nature of the claim? ____________________________            $____________________________
     __________________________________________
     Creditor’s Name                                             As of the date you file, the claim is: Check all that apply.
     __________________________________________                     Contingent
     Number            Street
                                                                    Unliquidated
     __________________________________________                     Disputed
                                                                    None of the above apply
     __________________________________________                  Does the creditor have a lien on your property?
     City                               State   ZIP Code
                                                                    No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
     Contact
                                                                          Value of security:                 -   $_____________________
     ____________________________________                                 Unsecured claim                        $_____________________
     Contact phone


                                                                                                                                                          31
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Debtor 1          Robert H McClure
                 _______________________________________________________                                    Case number (if known)_____________________________________
                 First Name      Middle Name         Last Name


                                                                                                                                          Unsecured claim

18                                                               What is the nature of the claim? ____________________________
                                                                                                                                          $____________________________
     __________________________________________
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________                     Contingent
     Number            Street
                                                                    Unliquidated
     __________________________________________                     Disputed
                                                                    None of the above apply
     __________________________________________
     City                               State   ZIP Code         Does the creditor have a lien on your property?
                                                                    No
     __________________________________________                     Yes. Total claim (secured and unsecured):   $_____________________
     Contact
                                                                          Value of security:                 -   $_____________________
     ____________________________________
     Contact phone
                                                                          Unsecured claim                        $_____________________



                                                                 What is the nature of the claim? ____________________________
19
     __________________________________________                                                                                           $____________________________
     Creditor’s Name
                                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Number            Street                                       Contingent
                                                                    Unliquidated
     __________________________________________
                                                                    Disputed

     __________________________________________
                                                                    None of the above apply
     City                               State   ZIP Code
                                                                 Does the creditor have a lien on your property?

     __________________________________________
                                                                    No
     Contact                                                        Yes. Total claim (secured and unsecured):   $_____________________

     ____________________________________
                                                                          Value of security:                 -   $_____________________
     Contact phone                                                        Unsecured claim                        $_____________________



                                                                 What is the nature of the claim? ____________________________
20
                                                                                                                                          $____________________________

                                                                 As of the date you file, the claim is: Check all that apply.

     __________________________________________
                                                                    Contingent
     Creditor’s Name                                                Unliquidated

     __________________________________________
                                                                    Disputed
     Number            Street                                       None of the above apply
     __________________________________________
                                                                 Does the creditor have a lien on your property?
     __________________________________________                     No
     City                               State   ZIP Code
                                                                    Yes. Total claim (secured and unsecured):   $_____________________

     __________________________________________
                                                                          Value of security:                 -   $_____________________
     Contact                                                              Unsecured claim                        $_____________________

     ____________________________________
     Contact phone




                                                                                                                                                          32
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Debtor 1           Robert H McClure                      Document
                   _______________________________________________________       Page 13 ofCase
                                                                                            15number (if known)_____________________________________
                   First Name          Middle Name      Last Name




Pa rt 2 :     Sign Be low




  Under penalty of perjury, I declare that the information provided in this form is true and correct.



          /s/ Robert H. McClure
    ______________________________________________                    ______________________________________________
    Signature of Debtor 1                                              Signature of Debtor 2

          08/21/2022
    Date _________________                                                    08/21/2022
                                                                        Date _________________
            MM /    DD    /     YYYY                                          MM /   DD /   YYYY




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                             United States Bankruptcy Court
                               Northern District of Georgia




         Robert H McClure
In re:                                                            Case No.

                                                                  Chapter    11
                     Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




Date:         08/21/2022                           /s/ Robert H. McClure

                                                 Signature of Debtor



                                                 Signature of Joint Debtor
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Agents and Corporations, Inc.                           Platinum Restoration, LLC
1201 Orange Street                                      c/o Nicholas P. Martin, Esq.
Suite 600 One Commerce Center                           1742 Mount Vernon Road, Ste. 300
Wilmington, DE 19801                                    Atlanta, GA 30338


Ally Auto Finance                                       Platinum Restoration, LLC
P.O. Box 380902                                         Jacob Ortz
Bloomington, MN 55438                                   3828 Hackney Drive
                                                        Rex, GA 30273

Cedar Advance, LLC
25 Robert Pitt Drive                                    R. H. McClure, Inc. d/b/a Smith Bailey & Associates
Suite 204                                               2450 Eastgate Place
Monsey, NY 10952                                        Suite A
                                                        Snellville, GA 30078

Citibank Preferred
P.O. Box 6500                                           Wells Fargo Bank
Sioux Falls, SD 57117                                   1100 Corporate Center Drive
                                                        Raleigh, NC 27607

Georgia Department of Revenue
Compliance Division - ARCS-Bankruptcy                   Yana Chechelnitsky
1800 Century Blvd NE, Suite 9100                        2917 Ave I
Atlanta, GA 30345-3202                                  Brooklyn, NY 11210


Georgia Department of Revenue
P.O. Box 105499
Atlanta, GA 30348-5499


Gwinnett Co. Tax Commissioner
75 Langley Drive
Lawrenceville, GA 30046


Internal Revenue Service
Centralized Insolvency Operations
P. O. Box 21126
Philadelphia, PA 19114-0326


Internal Revenue Service
P. O. Box 7346
Philadelphia, PA 19101-7346


Ortiz Restoration, LLC
c/o Nicholas P. Martin, Esq.
1742 Mount Vernon Road, Ste. 300
Atlanta, GA 30338


Ortiz Restoration, LLC
Jacob Ortiz
3077 E. Lake Road
Mcdonough, GA 30252
